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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

                                     CASE: 1:19-cv-02323-KMT

  CARLOS BRITO,

                 Plaintiff,
  v.

  CHAPEL HILLS REALTY LLC,
  a Colorado Limited Liability Company; CHAPEL
  HILLS CH LLC, a Colorado Limited Liability
  Company; and CHAPEL HILLS NASSIM LLC, a
  Colorado Limited Liability Company

              Defendant.
  _____________________________________________________________________________

  PLAINTIFF’S SECOND MOTION FOR STAY OF ACTION AND ENLARGEMENT OF
                TIME & INCORPORATED MEMORANDUM OF LAW
  ______________________________________________________________________________
         Plaintiff CARLOS BRITO and Defendants, CHAPEL HILLS REALTY LLC, CHAPEL
  HILLS CH LLC, and CHAPEL HILLS NASSIM LLC by and through Plaintiff’s undersigned
  counsel and Defendants’ principals and general counsel, hereby submit this Motion for Stay of
  Action for fifteen (15) days in the present action in order to allow the parties the opportunity to
  come to an agreement on any ADA remediations and a plan for implementing any remediation,
  and in support thereof, state as follows:
         1.      This lawsuit involves allegations of violations of the Americans with Disabilities
  Act (“ADA”) at a property owned and operated by CHAPEL HILLS REALTY LLC, CHAPEL
  HILLS CH LLC, and CHAPEL HILLS NASSIM LLC (“Defendant”).
         2.      A Rule 34 Inspection has been completed and a report has been provided by
  Plaintiff’s counsel to Defendant’s counsel and the parties have been discussing a remediation plan
  and global settlement in earnest and in good faith.
         3.      The process has taken longer than initially estimated because of the size of the
  commercial property involved. To that end, the parties ask that the Court understand that any
  remediation plan the parties may agree to, however, depends upon an agreement on the scope of

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  work, if any, which must be completed in order to ensure that the property is in compliance with
  the ADA.
          4.       As such, in the interest of judicial economy and the parties’ interest in resolving
  this matter, the parties request that the Court grant a stay of this action up to, and including, March
  31, 2020 and enlarge all pending deadlines by a period of seven (7) days from the date upon which
  the stay is lifted, if ever.
          5.       On or before March 31, 2020, the parties will report to the Court whether the parties
  have concluded the settlement, whether additional time is needed to finalize the settlement or
  whether settlement has fallen through.
          6.       The parties submit that this Motion is made in good faith and not for the purpose
  of delay.
                                      MEMORANDUM OF LAW

          The inherent discretionary power to stay the proceedings in a civil case in order to manage

  its docket is well-recognized. See Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (acknowledging

  that the “[p]ower to stay proceedings is incidental to the power inherent in every court to control

  disposition of causes on its docket with economy of time and effort for itself, for counsel, and for

  litigants”). “So long as a stay does not prove ‘immoderate’ – that is to say, too long, too indefinite,

  or without proper justification – the decision to stay is bounded only by the district court’s

  discretion.” Niaccf, Inc. v. Cold Stone Creamery, No. 12 -20756, 2012 WL 1852941, at *1 (S.D.

  Fla. May 21, 2012). “Federal courts may exercise their discretion to stay proceedings when a stay

  would promote judicial economy and efficiency.” 200 Leslie Condo. Ass’n, Inc. v. QBE Ins. Corp.,

  No. 2011 WL 2470344, at *15 (S.D. Fla. June 21, 2011). Moreover, the Federal Rules of Civil

  Procedure “should be construed and administered to secure the just, speedy, and inexpensive

  determination of every action and proceeding.” Fed. R. Civ. P. 1.

          Here, this Court should exercise its inherent discretionary power to stay this matter, in order

  to avoid judicial waste while the parties finalize a remediation plan as to this Defendant and
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  potentially a settlement agreement. See 200 Leslie Condo. Ass’n, Inc. v. QBE Ins. Corp., No. 2011

  WL 2470344, at *15 (“[a] stay would result in savings to the parties and the Court”). As such, the

  parties request that this Court grant a stay of this action up to, and including February 3, 2020,

  staying all deadlines.

            WHEREFORE, Plaintiff CARLOS BRITO respectfully requests that this Honorable Court

  enter an Order: (i) granting the Plaintiff’s instant motion; (ii) staying all deadlines until February

  3, 2020; (iii) enlarging all pending deadlines by a period of seven (7) days from the date upon

  which the stay is lifted; and (iv) granting such other and further relief as this Court deems just and

  proper.

              CERTIFICATE OF CONFERRAL PURSUANT TO LOCAL RULE 7.1

            Pursuant to Fla. L. R. 7.1(a)(3)(A), the undersigned counsel certify that they agree to the

  relief sought in this Motion.

            Respectfully Submitted,

                                                          /s/ Anthony J. Perez
                                                          ANTHONY J. PEREZ

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                                   CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on March 16th, 2020, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing documents
  is being served this day on all counsel of record or pro se parties identified on the attached Service
  List in the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Filing.


                                                 /s/ /s/ Anthony J. Perez___
                                                 ANTHONY J. PEREZ




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